             Case
        USM-285 is a 1:19-cv-00644-RJJ-RSK           ECF
                     5-part form. Fill out the form and   No.5 copies.
                                                        print  8 filed 09/24/19   PageID.46
                                                                       Sign as needed           Page
                                                                                      and route as    1 of 5below.
                                                                                                   specified

  U.S. Department of Justice                                                                PROCESS RECEIPT AND RETURN
  United States Marshal s Serv ice                                                          See "Instructions for Service of Process by U.S. Marshal"

   PLAINTIFF                                                                                                                 COU RT CA E NUMBER
   Rona ld D. Sortland                                                                                                       1: l 9-cv-644
   DEFEN DANT                                                                                                                TYPE OF PROCE S
   Unknown Co lombel-S ing h                                                                                                Summons & Co mpla int
                         NAME OF I DIV IDUA L, COMPA Y, CORPORA T IO                        ETC. TO ERVE OR DE CRIPT IO            OF PROP!                  FILED - GR
       SERVE             Social Security Field Office                                                                                               September 24, 201 9 8:31 AM
                                                                                                                                                      CLERK OF COURT
          AT {           ADDRESS (Street or RFD. Apartment No . Cay. State and ZIP Code)
                                                                                                                                                    U.S. DISTRICT COURT
                         455 . Bond St. Benton Harbor, M I 49022                                                                                WESTERN DISTRICT OF MICHIGAN

              OTICEOF SE RVICE COPY TO REQUESTER AT NAME A D ADORES BELOW                                                                       BY:_!]§_ SCANNED BY:            3_5/M}.1'1
                                                                                                                           umber of process .
                                                                                                                         served with this Forni 285   2

                    l ~nald D. Sortland                      V irg ina Sortland                                            umber of parties to be
                      IO16 Lausman Dri ve                    10 16 Lausman Drive                                         served in this case
                      St. Joseph, M I 49085                  St. Joseph, M I 49085
                                                                                                                         Check for service
                    L                                                                                                    on U .. A.


        PEC IAL I TRUCT IONS OR OTHER INFORM ATIO THAT WILL A                               I TI    EXPED ITING SERVICE (lnc/111/e Business and A lternate Addresses.
       All Teleplto11 e Numbers, and Estimated Times Available for Service):
Fold                                                                                                                                                                        Fold




       ignature of Attorney other Originator requesting service on behalf of:               0   PLA INT IFF           TE LEPHON    NUM BER                  DATE

                                                                                            0   DEFE DA T

        SPACE BELOW FOR USE OF U.S . MARSHAL ONLY--DO NOT WRITE BELOW THIS LINE
   I acknowledge receipt for the total      Total Process   District of       Di trict to          Signature of Authorized U M Deputy or C lerk                    Date
   number of process indicated.                             Origin            Serve
   (Sign only for USM 285 if more
   than one USM 285 is submitted)            1                   0   040      No.   040            BRANDON LALL             y--~--·
                                                                                                                             :.~~~~.=:'~.:om°":-si&                09/ 19/20 19

   I hereby certi fy and return that I D have perso nally served , D have legal evidence of service, I&! have executed as shown in "Remarks" , the process described
   on the ind ividual , company, corporation, etc., at the address shown above on the on the indi vidual , company, corporation, etc . shown at the address inserted below.

   D      I hereby certify and return that I am unable to locate the individual, company, corporation, etc . named above (See remarks below)
       ame and title of individual served (if not shown above)
                                                                                                                               •     A person of suitable age and discretion
                                                                                                                                     then residing in defendant's usual place
                                                                                                                                     ofabode
   Address (complete only different than shown above)                                                                             Date                     Time
                                                                                                                                                                          Dam
                                                                                                                                                                          D pm

                                                                                                                                  Signature of U.S. Marshal or Deputy


       ervice Fee         Tota l Mileage Charges   Forwarding Fee          Tota l Charges          Advance Deposits     Amount owed to U.S. Mar,ha l* or
                          including endeavors)                                                                          (A mo unt o i'Rcfund*)


                                                                                                                                                    0.00
   REMARKS :


   See attached proof of service

       PRINT 5 COPIES:      I. CLERK OF TH E COU RT                                                                                           PRIOR EDITIO S MAY BE USED
                            2. US MS RECO RD
                            3. NOT ICE O F ER VICE
                            4 . BILLI NG STATEMENT* : To be returned to the U.S. Marshal with payment,
                                if any amount is owed. Please remit promptly payable to U.. Marshal.                                                                  Fonn U M-285
                            5. AC KNOW LEDGM ENT OF RECE IPT                                                                                                              Rev . 12/80
Case 1:19-cv-00644-RJJ-RSK ECF No. 8 filed 09/24/19 PageID.47 Page 2 of 5                                                                   I   I




                  •




                                                                                                                      First-Class Mail
                                                                                                                      Postage & Fees Paid
                                                                                                                      USPS
                                                                                                                      Permit No. G-10


                9590 9402 4223 8121 5252 30
              United States      • Sender: Please print you r name, address , and ZIP+4® in th is box•
              Postal Service
                                             U.S. Department of Justice
                                             United States Marshals Service
                                             Western District of Michigan
                                             110 Michigan Ave NW 5 th Floor
                                             Grand Rapids, MI 49503


           ,-23E:59S           II I' •I Ii I' l'I ,jl 1111 II•   1   111 l 11 I• ,jl ,lj, II• 11, 1111111111 I •I II I•' II
Case 1:19-cv-00644-RJJ-RSK ECF No. 8 filed 09/24/19 PageID.48 Page 3 of 5 •'




                •




                                                           :·   ·:,,
                SENDER: COMPLETE THIS SECTION
                •   Complete items 1, 2, and 3. · . ·. ·. ,~--
                •   Print your name and address on the reverse                                                                   D   Agent
                    so that we can return the card to you.                                                                       DAddressee
                                                                                                                          C. Date of Delivery
                •   Attach this card to the back of the mailpiece,
                    or on the front if space permits.                                                                       9-C,-/ 4
                 1. Article Addressed to:                                        D. Is delivery address different from item 1?   D   Yes

               D. 7 ~1"'~,- C,~                                                     If YES, enter delivery address below:        D   No


                -SocJc..l 'Se.a1~~ tiJ 1 ofG'-\...
                                                   USM-~MI'19SEP11AN11=24
               'i5~~1:>~-
               ~=t-QrJ \~rbor,fYY.r- L-J~OD~========
                                                                                g~~fi:i~:r:
                                                                                                                     D Priority Mail Express®
                                                                                                                     D Registered Mall™
                     111IIIIIIIIII Ill IIIII IIIIII II I11111 11111111111
                                                                 D Certified Mail®
                                                                                      Restricted Delivery            D R8ljiStered Mail Restricted
                                                                                                                Qjlhvery
                       9590 9402 4223 8121 5252 30                   Certified Mail Restricted Delivery       ~etum Receipt for
                                                                                                                Merchandise
               --::---:--:-:-:--:---.,..-~--:--:----------l D Collect on Delivery
                2. Article Number (Transfer from service label) •,., Collect  on Delivery Restricted Delivery D Signature Confirmation™
                                                                     '----ured Mail                           D Signature Confirmation
                                                                          ured Mail Restricted Delivery         Restricted Delivery
                    7018 0040 DODO 5790 9482                                        er$500)

                PS Form    3811, July 2015 PSN 7530-02-000-9053             J:/ 1- GI/.,,. ~ ii                    Domestic Return Receipt
                                                                                                       ,,
Case 1:19-cv-00644-RJJ-RSK ECF No. 8 filed 09/24/19 PageID.49 Page 4 of 5




               •




                                                                                     First-Class Mail
                                                                                     Postage & Fees Paid
                                                                                     USPS
                                                                                     Perm it No. G-10    I



                   9590 9402 4223 8121 5252 47
                United States    • Sender: Pl ease print your name, address, and ZIP+4® in this box•
                Postal Service
                                      U.S. Department of Justice
                                      United States Marshals Service
                                      Western District of Michigan
                                      110 Michigan Ave NW 5 th Floor
                                      Grand Rapids, MI 49503
Case 1:19-cv-00644-RJJ-RSK ECF No. 8 filed 09/24/19 PageID.50 Page 5 of 5                                                                         .'




           SENDER: COMPLETE THIS SECTION
           •    Complete items 1, 2, and 3.
           •    Print your name and address on the reverse                                                                        0 Agent
                so that we can return the card to you.                                                                            D   Addressee
           •    Attach this card to the back of the mailpiece,                                                             Cl\ Da~of Delivery
                or on the front if space permits.                                                                           --z-'1·-t
           1. Article Addressed to:                                               D. Is delivery address different from item 1?   D   Yes
                                                                                     If YES, enter delivery address below:        •   No
          \X)(r)QJJ Cc\~                                ~S,;r'l~h
          Soc.,,"c.) Se-<..\Jr~ ~-tjb o-t-f >'t-t..u                                  USM-UMI'19SEP11AN11=24
          Y55 "2x,,ct               ~-
          ~"" \iCA<i:::xX'-1 Mt[_ ~°)O):
                                                                   3. Service Type                                    D Priority Mall Express®
                                                                   D Adult Signature                                   D Registered Mall™
                 111IIIIII IIIIIll lllll llllII Ill II Ill I 111111111
                                                                   D Adult Signature Restricted Delivery
                                                                   D _pertifled Mail®
                                                                                                                      D ~lstered Mail Restricted
                                                                                                                           Delivery
                 9590 9402 4223 8121 5252 47                       ireertifled Mall Restrtcted Delivery               Ii!! Return Receipt for
                                                                                                                           Merchandise
         - - - - - - - - - - - - - - - - - - - - 1 D Collect on Delivery                                               D Signature Confirmation TM
          2. Article Number ([cansferJ ram-~srvirc lo tu,11
               7 0 18 0 0 4 0 0 0 0 0 5 7 9
                                                           •9 49 9
                                                                   n ~ollect on Delivery Restricted Delivery
                                                                       nsured Mail
                                                                       nsured Mail Restricted Delivery
                                                                                                                       D Signature Confirmation
                                                                                                                           Restrlctetl Delivery
                                                                      (over$500)
           PS Form     3811, July 2015 PSN 7530-02-000-9053              / ;   t '7   - C,,V- f, 1/                 Domestic Return Receipt
